             Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                     Desc
                                                        Main Document    Page 1 of 42

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Naked River Brewing Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA The Naked River Brewing Company
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1791 Reggie White Blvd                                          701 Franklin Street
                                  Chattanooga, TN 37402                                           Chattanooga, TN 37405
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hamilton                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.nakedriverbrewing.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case 1:23-bk-10417-NWW                          Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                    Desc
                                                            Main Document    Page 2 of 42
Debtor    Naked River Brewing Company, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
              Case 1:23-bk-10417-NWW                              Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                        Desc
                                                                 Main Document    Page 3 of 42
Debtor    Naked River Brewing Company, LLC                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                      Managing
     attach a separate list                          Debtor      Robert Jake Raulston                                          Relationship               Member
                                                                 Eastern District of
                                                     District    Tennessee                    When      2/22/23                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
            Case 1:23-bk-10417-NWW             Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                              Desc
                                              Main Document    Page 4 of 42
Debtor   Naked River Brewing Company, LLC                                          Case number (if known)
         Name


16. Estimated liabilities   $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                        Desc
                                                        Main Document    Page 5 of 42
Debtor    Naked River Brewing Company, LLC                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 22, 2023
                                                  MM / DD / YYYY


                             X /s/ Robert Jake Raulston                                                   Robert Jake Raulston
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Jeffrey W. Maddux                                                       Date February 22, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey W. Maddux (#27394)
                                 Printed name

                                 Chambliss, Bahner & Stophel, P. C.
                                 Firm name

                                 Liberty Tower
                                 605 Chestnut Street, Ste. 1700
                                 Chattanooga, TN 37450
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     423-757-0296                  Email address      jmaddux@chamblisslaw.com

                                 (#27394) TN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
         Case 1:23-bk-10417-NWW                       Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                     Desc
                                                     Main Document    Page 6 of 42




Fill in this information to identify the case:

Debtor name         Naked River Brewing Company, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 22, 2023               X /s/ Robert Jake Raulston
                                                           Signature of individual signing on behalf of debtor

                                                            Robert Jake Raulston
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case 1:23-bk-10417-NWW                                            Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                                                    Desc
                                                                             Main Document    Page 7 of 42
 Fill in this information to identify the case:

 Debtor name            Naked River Brewing Company, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           933,256.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           933,256.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           625,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           301,378.45


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             926,378.45




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                           Desc
                                                     Main Document    Page 8 of 42
Fill in this information to identify the case:

Debtor name         Naked River Brewing Company, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Pinnacle Bank                                                                                                                    $9,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $9,000.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    17,896.00      -                                     0.00 = ....                            $17,896.00
                                       face amount                          doubtful or uncollectible accounts



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
          Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                           Desc
                                                     Main Document    Page 9 of 42
Debtor       Naked River Brewing Company, LLC                                            Case number (If known)
             Name



12.       Total of Part 3.                                                                                                    $17,896.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last           Net book value of       Valuation method used   Current value of
                                             physical inventory         debtor's interest       for current value       debtor's interest
                                                                        (Where available)

19.       Raw materials
          Located at 1791 Reggie
          White Blvd, Chattanooga
          TN 37402                           02/16/2023                            $75,289.00                                     $75,289.00



20.       Work in progress
          Located at 1791 Reggie
          White Blvd,
          Chattanooga, TN 37402              02/16/2023                             $8,203.00                                      $8,203.00



21.       Finished goods, including goods held for resale
          Located at 1791 Reggie
          White Blvd, Chattanooga
          TN 37402                           02/16/2023                             $9,142.00                                      $9,142.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                    $92,634.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                 9,924.00 Valuation method                           Current Value               9,924.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 2
          Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                               Desc
                                                     Main Document    Page 10 of 42
Debtor       Naked River Brewing Company, LLC                                               Case number (If known)
             Name


      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Dinning room chairs, tables
          Located at 1791 Reggie White Blvd,
          Chattanooga TN 37402                                                       $3,000.00                                         $3,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office computers and POS
          Located at 1791 Reggie White Blvd,
          Chattanooga TN 37402                                                       $5,000.00                                         $5,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $8,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
           Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                       Desc
                                                     Main Document    Page 11 of 42
Debtor        Naked River Brewing Company, LLC                                             Case number (If known)
              Name



50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Brewing Equipment, kegs, and cooking
           equipment
           Located at 1791 Reggie White Blvd,
           Chattanooga TN 37402                                                  $621,000.00                                 $621,000.00




51.        Total of Part 8.                                                                                              $621,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 4
         Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48           Desc
                                                   Main Document    Page 12 of 42
Debtor      Naked River Brewing Company, LLC                                        Case number (If known)
            Name



         Employee Retention Tax Credit                                                                        $184,726.00




78.      Total of Part 11.                                                                                   $184,726.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                 page 5
           Case 1:23-bk-10417-NWW                                  Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                                 Desc
                                                                  Main Document    Page 13 of 42
Debtor          Naked River Brewing Company, LLC                                                                    Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $9,000.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $17,896.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $92,634.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $8,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $621,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $184,726.00

91. Total. Add lines 80 through 90 for each column                                                            $933,256.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $933,256.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
          Case 1:23-bk-10417-NWW                             Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                              Desc
                                                            Main Document    Page 14 of 42
Fill in this information to identify the case:

Debtor name          Naked River Brewing Company, LLC

United States Bankruptcy Court for the:            EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
2.1    United Community Bank                        Describe debtor's property that is subject to a lien                     $625,000.00               $621,000.00
       Creditor's Name                              All equipment, inventory, raw materials and
                                                    accounts.
       2 West Washington Street
       Greenville, SC 29601
       Creditor's mailing address                   Describe the lien
                                                    Alleged 1st priority security interest pursuant
                                                    to General Sec. Agr. & UCC-1
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $625,000.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        U.S. Small Business Administration
        District Director                                                                                     Line   2.1
        2 International Plaza Drive, Suite 500
        Nashville, TN 37217

        United States Attorney's Office
        1110 Market Street, Suite 515                                                                         Line   2.1
        Chattanooga, TN 37402

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
         Case 1:23-bk-10417-NWW           Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48              Desc
                                         Main Document    Page 15 of 42
Debtor    Naked River Brewing Company, LLC                                Case number (if known)
          Name




Official Form 206D     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property     page 2 of 2
           Case 1:23-bk-10417-NWW                          Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                                      Desc
                                                          Main Document    Page 16 of 42
Fill in this information to identify the case:

Debtor name        Naked River Brewing Company, LLC

United States Bankruptcy Court for the:          EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown       Unknown
          Tennessee Department of Revenue                      Check all that apply.
          Andrew Jackson State Office                             Contingent
          Building                                                Unliquidated
          500 Deaderick Street
          Nashville, TN 37242                                     Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               State Tax Lien - Paid in full in 2020

          Last 4 digits of account number 2978                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $2,078.00
          Ajax Turner (V)                                                        Contingent
          4010 Centrepointe Way                                                  Unliquidated
          La Vergne, TN 37086                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                            $0.00
          Alabama Crown Distributing Company                                     Contingent
          1330 Corporate Woods Dr.                                               Unliquidated
          Alabaster, AL 35007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 9
                                                                                                               28999
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                      Desc
                                                    Main Document    Page 17 of 42
Debtor      Naked River Brewing Company, LLC                                                Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $775.00
         Alchemy Spice Company                                        Contingent
         3209 Wilcox Blvd,                                            Unliquidated
         Ste 100                                                      Disputed
         Chattanooga, TN 37411
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         American Express                                             Contingent
         200 Vessy street                                             Unliquidated
         New York, NY 10285                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         AOC-Aleksey Imports Chattnooga LLC                           Contingent
         4295 Cromwell Road #414                                      Unliquidated
         Chattanooga, TN 37412                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,625.47
         Aramark                                                      Contingent
         PO Box 731676                                                Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $115.00
         Arrow Exterminators                                          Contingent
         3501 Aminicola Hwy                                           Unliquidated
         Chattanooga, TN 37406                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Athens Distributing Company                                  Contingent
         2735 Kanasita Dr.                                            Unliquidated
         #121                                                         Disputed
         Hixson, TN 37343
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,944.96
         Auto-Chlor System                                            Contingent
         1614 E. 27th Street                                          Unliquidated
         Chattanooga, TN 37404                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 9
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                      Desc
                                                    Main Document    Page 18 of 42
Debtor      Naked River Brewing Company, LLC                                                Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,282.66
         Battle Associates                                            Contingent
         1720 Peachtree St, NW #333                                   Unliquidated
         Atlanta, GA 30309                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Best Brands Incorporated                                     Contingent
         7337 Cockril Bent Blvd                                       Unliquidated
         Nashville, TN 37209                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $523.66
         BlueGrace Logistics                                          Contingent
         555 Walnut Street                                            Unliquidated
         2 South Ste. A                                               Disputed
         Chattanooga, TN 37402
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $19,500.94
         Brewers Supply Group                                         Contingent
         800 1st Ave West                                             Unliquidated
         Shakopee, MN 55379                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Brock Insurance                                              Contingent
         325 Cherokee Blvd. Ste 201                                   Unliquidated
         Chattanooga, TN 37405                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Capital One                                                  Contingent
         1680 Capital One Drive                                       Unliquidated
         Mc Lean, VA 22102                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,695.00
         Carolina Malt House                                          Contingent
         12969 Stateville Blvd                                        Unliquidated
         Cleveland, NC 27013                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 9
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                      Desc
                                                    Main Document    Page 19 of 42
Debtor      Naked River Brewing Company, LLC                                                Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Central Insurance Company                                    Contingent
         800 S Washington Street                                      Unliquidated
         Van Wert, OH 45891                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Chattanooga Bakery Inc.                                      Contingent
         900 Manufacturers Rd #101                                    Unliquidated
         Chattanooga, TN 37405                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Chattanooga Gas Compnay                                      Contingent
         2207 Olan Mills Dr.                                          Unliquidated
         Chattanooga, TN 37421                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Cintas                                                       Contingent
         2131 Polymer Dr. #2131A                                      Unliquidated
         Chattanooga, TN 37421                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         City of Chattanooga Waste Resources Div.                     Contingent
         1250 Market Street                                           Unliquidated
         Chattanooga, TN 37402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $11,539.36
         CMG-Asheville                                                Contingent
         145 Cane Creek Industrial Road                               Unliquidated
         Suite 175                                                    Disputed
         Fletcher, NC 28732
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $550.00
         CocaCola                                                     Contingent
         1 coca-Cola Plaza SE                                         Unliquidated
         Atlanta, GA 30313                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 9
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                      Desc
                                                    Main Document    Page 20 of 42
Debtor      Naked River Brewing Company, LLC                                                Case number (if known)
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $505.00
         Darling Ingredients, Inc.                                    Contingent
         5601 N. MacArthur Blvd                                       Unliquidated
         Irving, TX 75038                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Deklab MD                                                    Contingent
         1848 Rossville Ave                                           Unliquidated
         Chattanooga, TN 37408                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt (Notice Only)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Dynamic Labels                                               Contingent
         817 Broad Street                                             Unliquidated
         Chattanooga, TN 37402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Empire Distributors of Tennessee Inc.                        Contingent
         3794 Tag Road                                                Unliquidated
         Chattanooga, TN 37416                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,400.31
         EPB                                                          Contingent
         10 West ML King Blvd                                         Unliquidated
         Chattanooga, TN 37402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Evans Meats, Inc.                                            Contingent
         617 21st Ave. W                                              Unliquidated
         Birmingham, AL 35204                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $324.56
         Georgia Crown Distributing Co.                               Contingent
         100 Georgia Crown Drive                                      Unliquidated
         McDonough, GA 30253                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 5 of 9
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                      Desc
                                                    Main Document    Page 21 of 42
Debtor      Naked River Brewing Company, LLC                                                Case number (if known)
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Gordon Food Service Store                                    Contingent
         1817 Broad Street                                            Unliquidated
         Chattanooga, TN 37408                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         HHM Certified Accountants                                    Contingent
         1200 Market Street                                           Unliquidated
         Chattanooga, TN 37402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Holston Gases                                                Contingent
         1105 Stuart St.                                              Unliquidated
         Chattanooga, TN 37406                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $50,597.38
         Jake Raulston                                                Contingent
         701 Franklin Street                                          Unliquidated
         Chattanooga, TN 37405                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $29.42
         Lipman Brothers                                              Contingent
         2815 Brick Church Pike                                       Unliquidated
         Nashville, TN 37207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $100,000.00
         Mainvest, Inc.                                               Contingent
         Attn: Tim Blanchard                                          Unliquidated
         81 Washington St., Suite 201                                 Disputed
         Salem, MA 01970
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Melon Patch Farms                                            Contingent
         295 Lee And                                                  Unliquidated
         Lee-Gorddon Mill Rd                                          Disputed
         Chickamauga, GA 30707
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 6 of 9
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                      Desc
                                                    Main Document    Page 22 of 42
Debtor      Naked River Brewing Company, LLC                                                Case number (if known)
            Name

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $60.00
         Meyers Security Services                                     Contingent
         1815 Riverfront Parkway                                      Unliquidated
         Chattanooga, TN 37408                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         New Terra                                                    Contingent
         109 Hummingbird Lane                                         Unliquidated
         Wildwood, GA 30757                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Norfolk Southern Railway Company                             Contingent
         650 W. Peachtreet, NE, St. 303                               Unliquidated
         Atlanta, GA 30308                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Norland International Inc.                                   Contingent
         2001 SW 6th Street                                           Unliquidated
         Lincoln, NE 68522                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Performance Food Group                                       Contingent
         12500 West Creel Parkway                                     Unliquidated
         Henrico, VA 23238                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $102.00
         Preventia Security                                           Contingent
         1601 Old Lafayette Road                                      Unliquidated
         Fort Oglethorpe, GA 30742                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,317.67
         Steel City Creative                                          Contingent
         913 7th Ave North                                            Unliquidated
         Birmingham, AL 35203                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 7 of 9
          Case 1:23-bk-10417-NWW                          Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                                Desc
                                                         Main Document    Page 23 of 42
Debtor       Naked River Brewing Company, LLC                                                       Case number (if known)
             Name

3.45      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $13.43
          Sysco                                                                Contingent
          900 Tennessee Ave                                                    Unliquidated
          Knoxville, TN 37921                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.46      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          Tennessee American Water                                             Contingent
          109 Wiehl Street                                                     Unliquidated
          Chattanooga, TN 37403                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.47      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          US Foods                                                             Contingent
          PO Box 602224                                                        Unliquidated
          Charlotte, NC 28260                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.48      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $524.92
          Volunteer Welding Supply                                             Contingent
          815 Rep. John Lewis Ways                                             Unliquidated
          Nashville, TN 37203                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.49      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $90,873.71
          Wise Properties                                                      Contingent
          298 Acorn Oaks Circle                                                Unliquidated
          Chattanooga, TN 37406                                                Disputed
          Date(s) debt was incurred 02/17/2023
                                                                           Basis for the claim: Lease
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.50      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          Zee Company, Inc.                                                    Contingent
          412 Georgia Ave Ste. 300                                             Unliquidated
          Chattanooga, TN 37403                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Wagner & Weeks, PLLC
          701 Market Street                                                                         Line     3.49
          Suite 310
                                                                                                           Not listed. Explain
          Chattanooga, TN 37402

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 9
          Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                     Desc
                                                     Main Document    Page 24 of 42
Debtor      Naked River Brewing Company, LLC                                            Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                       related creditor (if any) listed?           account number, if
                                                                                                                                   any


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                          0.00
5b. Total claims from Part 2                                                              5b.   +   $                    301,378.45

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                       301,378.45




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 9
         Case 1:23-bk-10417-NWW                       Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                        Desc
                                                     Main Document    Page 25 of 42
Fill in this information to identify the case:

Debtor name       Naked River Brewing Company, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Distribution Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Georgia Crown Distributing Co.
           List the contract number of any                                          100 Georgia Crown Drive
                 government contract                                                McDonough, GA 30253


2.2.       State what the contract or            Rent to own re: Keg
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Keg Logistics
                                                                                    9110 East Nichols Ave
           List the contract number of any                                          Suite 105
                 government contract                                                Englewood, CO 80112


2.3.       State what the contract or            Distribution Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Lipman Brothers, LLC
           List the contract number of any                                          2815 Brick Church Pike
                 government contract                                                Nashville, TN 37207-3903


2.4.       State what the contract or            Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Wise Properties
           List the contract number of any                                          298 Acorn Oaks Circle
                 government contract                                                Chattanooga, TN 37406




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 1:23-bk-10417-NWW                    Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                        Desc
                                                  Main Document    Page 26 of 42
Fill in this information to identify the case:

Debtor name      Naked River Brewing Company, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Robert Jake                 701 Franklin Street                                       United Community                   D   2.1
          Raulston                    Chattanooga, TN 37405                                     Bank                               E/F
                                                                                                                                   G




   2.2    Robert Jake                 701 Franklin Street                                       Wise Properties                    D
          Raulston                    Chattanooga, TN 37405                                                                        E/F       3.49
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                        Desc
                                                    Main Document    Page 27 of 42



Fill in this information to identify the case:

Debtor name         Naked River Brewing Company, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For year before that:                                                               Operating a business                                 $94,000.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,325,585.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,083,406.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                            Desc
                                                     Main Document    Page 28 of 42
Debtor       Naked River Brewing Company, LLC                                                   Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Wise Properties                                       02/05/2023                       $33,000.00                Secured debt
             298 Acorn Oaks Circle                                                                                            Unsecured loan repayments
             Chattanooga, TN 37405                                                                                            Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Lease


      3.2.
             Brewers Supply Group                                                                   $11,000.00                Secured debt
             800 1st Ave West                                                                                                 Unsecured loan repayments
             Shakopee, MN 55379
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.3.
             Performance Food Group                                                                   $7,603.00               Secured debt
             12500 West Creel Parkway                                                                                         Unsecured loan repayments
             Henrico, VA 23238
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.4.
             Sysco                                                                                  $10,000.00                Secured debt
             900 Tennessee Ave                                                                                                Unsecured loan repayments
             Knoxville, TN 37921
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.5.
             US Foods                                                                                 $6,654.00               Secured debt
             PO Box 602224                                                                                                    Unsecured loan repayments
             Charlotte, NC 28260
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                             Desc
                                                    Main Document    Page 29 of 42
Debtor       Naked River Brewing Company, LLC                                                    Case number (if known)




          None

      Creditor's name and address                     Description of the action creditor took                         Date action was                  Amount
                                                                                                                      taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                               Nature of case               Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   Wise Properties-TN, LLC v.               Detainer                     Hamilton County General                        Pending
             Robert Jake Raulston,                                                 Session Court                                  On appeal
             Individually, and The Naked
                                                                                                                                  Concluded
             River Brewing Company, LLC
             23GS927

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                  Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss                Value of property
      how the loss occurred                                                                                                                                lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred                Dates                    Total amount or
               the transfer?                                                                                                                             value
               Address



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
           Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                         Desc
                                                     Main Document    Page 30 of 42
Debtor        Naked River Brewing Company, LLC                                                   Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Chambliss, Bahner & Stophel,
                P. C.
                Liberty Tower
                605 Chestnut Street, Ste. 1700
                Chattanooga, TN 37450                     Attorney Fees                                                                          $23,476.00

                Email or website address
                jmaddux@chamblisslaw.com

                Who made the payment, if not debtor?
                Robert Jake Raulton



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
           Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                           Desc
                                                      Main Document    Page 31 of 42
Debtor      Naked River Brewing Company, LLC                                                     Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Point of Sale Record - last names, emails and phone numbers
                 Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
           Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                             Desc
                                                     Main Document    Page 32 of 42
Debtor      Naked River Brewing Company, LLC                                                    Case number (if known)




     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Barnes Accounting Group                                                                                            02/01/2023 - to
                    Chattanooga, TN                                                                                                    present

      26a.2.        RASI                                                                                                               09/23/2020
                    1101 W. Mineral Ave.
                    Ste. 200
                    Littleton, CO 80120

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
          Case 1:23-bk-10417-NWW                      Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                          Desc
                                                     Main Document    Page 33 of 42
Debtor      Naked River Brewing Company, LLC                                                    Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Barnes Accounting Group                                                                                         02/01/2023 - to
                    Chattanooga, TN                                                                                                 present

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        RASI                                                                                                            09/23/2020
                    1101 W. Mineral Ave.
                    Ste. 200
                    Littleton, CO 80120
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.3.        HHM Accounting                                                                                                  2019-2022
                    1200 Market Street
                    Chattanooga, TN 37402

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Barnes Accounting Group
                    Chattanooga, TN

      26c.2.        Market Street Partners
                    Chattanooga, TN


    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Robert Jake Raulston                    701 Franklin Street                                 Managing Member                           53.1%
                                              Chattanooga, TN 37405



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
          Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                       Desc
                                                    Main Document    Page 34 of 42
Debtor      Naked River Brewing Company, LLC                                                   Case number (if known)



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Robert Jake Raulston
      .    701 Franklin Street                                                                                  01/2022-2/22/2      Salary - paid
             Chattanooga, TN 37405                    $200/week                                                 3                   intermittently

             Relationship to debtor
             Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
           Case 1:23-bk-10417-NWW                     Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                                    Desc
                                                     Main Document    Page 35 of 42
Debtor      Naked River Brewing Company, LLC                                                    Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         February 22, 2023

/s/ Robert Jake Raulston                                        Robert Jake Raulston
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
         Case 1:23-bk-10417-NWW        Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48               Desc
                                      Main Document    Page 36 of 42




                                      United States Bankruptcy Court
                                            Eastern District of Tennessee
 In re   Naked River Brewing Company, LLC                                           Case No.
                                                          Debtor(s)                 Chapter    11




                             VERIFICATION OF CREDITOR MATRIX


      The above Debtor(s) hereby verifies under the penalty of perjury under the laws of the United States of
America that the attached list of creditors is true and correct to the best of his/her knowledge.




Date:    February 22, 2023                     /s/ Robert Jake Raulston
                                               Robert Jake Raulston/Managing Member
                                               Signer/Title

Date: February 22, 2023                        /s/ Jeffrey W. Maddux
                                               Signature of Attorney
                                               Jeffrey W. Maddux (#27394)
                                               Chambliss, Bahner & Stophel, P. C.
                                               Liberty Tower
                                               605 Chestnut Street, Ste. 1700
                                               Chattanooga, TN 37450
                                               423-757-0296 Fax: 423-508-1296
    Case 1:23-bk-10417-NWW    Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48   Desc
                             Main Document    Page 37 of 42


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                       Ajax Turner (V)
                       4010 Centrepointe Way
                       La Vergne, TN 37086

                       Alabama Crown Distributing Company
                       1330 Corporate Woods Dr.
                       Alabaster, AL 35007

                       Alchemy Spice Company
                       3209 Wilcox Blvd,
                       Ste 100
                       Chattanooga, TN 37411

                       American Express
                       200 Vessy street
                       New York, NY 10285

                       AOC-Aleksey Imports Chattnooga LLC
                       4295 Cromwell Road #414
                       Chattanooga, TN 37412

                       Aramark
                       PO Box 731676
                       Dallas, TX 75373

                       Arrow Exterminators
                       3501 Aminicola Hwy
                       Chattanooga, TN 37406

                       Athens Distributing Company
                       2735 Kanasita Dr.
                       #121
                       Hixson, TN 37343

                       Auto-Chlor System
                       1614 E. 27th Street
                       Chattanooga, TN 37404

                       Battle Associates
                       1720 Peachtree St, NW #333
                       Atlanta, GA 30309

                       Best Brands Incorporated
                       7337 Cockril Bent Blvd
                       Nashville, TN 37209

                       BlueGrace Logistics
                       555 Walnut Street
                       2 South Ste. A
                       Chattanooga, TN 37402

                       Brewers Supply Group
                       800 1st Ave West
                       Shakopee, MN 55379
Case 1:23-bk-10417-NWW    Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48   Desc
                         Main Document    Page 38 of 42



                   Brock Insurance
                   325 Cherokee Blvd. Ste 201
                   Chattanooga, TN 37405

                   Capital One
                   1680 Capital One Drive
                   Mc Lean, VA 22102

                   Carolina Malt House
                   12969 Stateville Blvd
                   Cleveland, NC 27013

                   Central Insurance Company
                   800 S Washington Street
                   Van Wert, OH 45891

                   Chattanooga Bakery Inc.
                   900 Manufacturers Rd #101
                   Chattanooga, TN 37405

                   Chattanooga Gas Compnay
                   2207 Olan Mills Dr.
                   Chattanooga, TN 37421

                   Cintas
                   2131 Polymer Dr. #2131A
                   Chattanooga, TN 37421

                   City of Chattanooga Waste Resources Div.
                   1250 Market Street
                   Chattanooga, TN 37402

                   CMG-Asheville
                   145 Cane Creek Industrial Road
                   Suite 175
                   Fletcher, NC 28732

                   CocaCola
                   1 coca-Cola Plaza SE
                   Atlanta, GA 30313

                   Darling Ingredients, Inc.
                   5601 N. MacArthur Blvd
                   Irving, TX 75038

                   Deklab MD
                   1848 Rossville Ave
                   Chattanooga, TN 37408

                   Dynamic Labels
                   817 Broad Street
                   Chattanooga, TN 37402
Case 1:23-bk-10417-NWW    Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48   Desc
                         Main Document    Page 39 of 42



                   Empire Distributors of Tennessee Inc.
                   3794 Tag Road
                   Chattanooga, TN 37416

                   EPB
                   10 West ML King Blvd
                   Chattanooga, TN 37402

                   Evans Meats, Inc.
                   617 21st Ave. W
                   Birmingham, AL 35204

                   Georgia Crown Distributing         Co.
                   100 Georgia Crown Drive
                   McDonough, GA 30253

                   Gordon Food Service Store
                   1817 Broad Street
                   Chattanooga, TN 37408

                   HHM Certified Accountants
                   1200 Market Street
                   Chattanooga, TN 37402

                   Holston Gases
                   1105 Stuart St.
                   Chattanooga, TN 37406

                   Jake Raulston
                   701 Franklin Street
                   Chattanooga, TN 37405

                   Keg Logistics
                   9110 East Nichols Ave
                   Suite 105
                   Englewood, CO 80112

                   Lipman Brothers
                   2815 Brick Church Pike
                   Nashville, TN 37207

                   Lipman Brothers, LLC
                   2815 Brick Church Pike
                   Nashville, TN 37207-3903

                   Mainvest, Inc.
                   Attn: Tim Blanchard
                   81 Washington St., Suite 201
                   Salem, MA 01970

                   Melon Patch Farms
                   295 Lee And
                   Lee-Gorddon Mill Rd
                   Chickamauga, GA 30707
Case 1:23-bk-10417-NWW    Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48   Desc
                         Main Document    Page 40 of 42



                   Meyers Security Services
                   1815 Riverfront Parkway
                   Chattanooga, TN 37408

                   New Terra
                   109 Hummingbird Lane
                   Wildwood, GA 30757

                   Norfolk Southern Railway Company
                   650 W. Peachtreet, NE, St. 303
                   Atlanta, GA 30308

                   Norland International Inc.
                   2001 SW 6th Street
                   Lincoln, NE 68522

                   Performance Food Group
                   12500 West Creel Parkway
                   Henrico, VA 23238

                   Preventia Security
                   1601 Old Lafayette Road
                   Fort Oglethorpe, GA 30742

                   Robert Jake Raulston
                   701 Franklin Street
                   Chattanooga, TN 37405

                   Steel City Creative
                   913 7th Ave North
                   Birmingham, AL 35203

                   Sysco
                   900 Tennessee Ave
                   Knoxville, TN 37921

                   Tennessee American Water
                   109 Wiehl Street
                   Chattanooga, TN 37403

                   Tennessee Department of Revenue
                   Andrew Jackson State Office Building
                   500 Deaderick Street
                   Nashville, TN 37242

                   U.S. Small Business Administration
                   District Director
                   2 International Plaza Drive, Suite 500
                   Nashville, TN 37217

                   United Community Bank
                   2 West Washington Street
                   Greenville, SC 29601
Case 1:23-bk-10417-NWW    Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48   Desc
                         Main Document    Page 41 of 42



                   United States Attorney's Office
                   1110 Market Street, Suite 515
                   Chattanooga, TN 37402

                   US Foods
                   PO Box 602224
                   Charlotte, NC 28260

                   Volunteer Welding Supply
                   815 Rep. John Lewis Ways
                   Nashville, TN 37203

                   Wagner & Weeks, PLLC
                   701 Market Street
                   Suite 310
                   Chattanooga, TN 37402

                   Wise Properties
                   298 Acorn Oaks Circle
                   Chattanooga, TN 37406

                   Zee Company, Inc.
                   412 Georgia Ave Ste. 300
                   Chattanooga, TN 37403
         Case 1:23-bk-10417-NWW           Doc 1 Filed 02/22/23 Entered 02/22/23 20:51:48                       Desc
                                         Main Document    Page 42 of 42



                                          United States Bankruptcy Court
                                               Eastern District of Tennessee
 In re   Naked River Brewing Company, LLC                                             Case No.
                                                             Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Naked River Brewing Company, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




February 22, 2023                               /s/ Jeffrey W. Maddux
Date                                            Jeffrey W. Maddux (#27394)
                                                Signature of Attorney or Litigant
                                                Counsel for Naked River Brewing Company, LLC
                                                Chambliss, Bahner & Stophel, P. C.
                                                Liberty Tower
                                                605 Chestnut Street, Ste. 1700
                                                Chattanooga, TN 37450
                                                423-757-0296 Fax:423-508-1296
                                                jmaddux@chamblisslaw.com
